
USCA1 Opinion

	




          July 11, 1994         [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                                                                      ____________________        No. 93-2347                                JUAN CAMACHO-PACHECO,                                Plaintiff, Appellant,                                          v.                            LUIS A. MEDINA-VARGAS, ET AL.,                                Defendants, Appellees.                                                                                      ____________________        No. 93-2348                          ANTONIO RODRIGUEZ-TORRES, ET AL.,                               Plaintiffs, Appellants,                                          v.                            LUIS A. MEDINA-VARGAS, ET AL.,                                Defendants, Appellees.                                                                                      ____________________                    APPEALS FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                    [Hon. Raymond L. Acosta, U.S. District Judge]                                             ___________________                                                                                      ____________________                                        Before                              Torruella, Cyr and Boudin,                                   Circuit Judges.                                   ______________                                                                                      ____________________             Roberto Buso-Aloy,  with whom Harry  Anduze Montano was  on brief             _________________             _____________________        for appellants Rodriguez, et al.             Francisco  R. Gonzalez,  with  whom Jesus  Hernandez Sanchez  and             ______________________              ________________________        Hernandez Sanchez  Law  Firm  were  on brief  for  appellant  Camacho-        ____________________________        Pacheco.             Edgardo Rodriguez-Quilichini, Assistant  Solicitor General,  with             ____________________________        whom Pedro  A. Delgado-Hernandez, Solicitor General,  and Carlos Lugo-             ___________________________                          ____________        Fiol, Deputy Solicitor General, were on brief for appellees.        ____                                                                                      ____________________                                                                                      ____________________                                          2                    Per Curiam.    During  the evening of  March 10,  1990,                    Per Curiam.                    __________          Officer  Luis Medina Vargas arrived by unmarked patrol car in the          Caimito Ward of  Yauco, Puerto Rico, accompanied  by his partner,          Antonio Rodriquez.  Medina, who believed that he had come upon an          illegal  street-side "dice"  game,  jumped from  the patrol  car,          announced himself  as a police  officer, and fatally  shot Manuel          Camacho Rodriquez in the back.  Camacho was unarmed.                      In August 1991, Camacho's  family filed suit in federal          district court  against Medina,  his partner, and  several police          department  supervisors,  pursuant  to 42  U.S.C.     1983.   The          complaint alleged,  inter alia, that Medina's  partner had failed                              _____ ____          to take reasonable measures at the scene to prevent the shooting,          and  that  Medina's  supervisors  had  demonstrated  reckless  or          callous indifference  to Camacho's constitutional  rights by  (i)          maintaining  deficient police  recruiting procedures  and failing          adequately  to  train or  supervise  Camacho  for this  "special"          patrol,  (ii) ignoring previous  administrative complaints lodged          against  Camacho, and  (iii)  permitting  department-wide use  of          excessive force.   The district court  ultimately granted summary          judgment for the partner and the supervisors.                    A de  novo review of  the summary judgment  record, see                      __  ____                                          ___          Fed. R. Civ. P. 56(c); Gaskell v. The Harvard Coop. Soc'y, 3 F.3d                                 _______    _______________________          495,  497  (1st Cir.  1993), leads  us  to conclude  that summary          judgment was proper.                                           3                    First,  the  claim  against  Medina's  partner  falters          because  all  record evidence  indicates  that  Medina fired  his          weapon a split second  after jumping from the patrol  car, before          his partner even had time to shift the vehicle into park.                    Second, the record  is similarly deficient as  concerns          appellants' claims against Medina's supervisors:                      Supervisor liability [under section 1983] may                    not be predicated upon a theory of respondeat                                                       __________                    superior. . . .   Moreover, a supervisor can-                    ________                    not  be liable  for  merely  negligent  acts.                    Rather, a supervisor's acts or omissions must                    amount to a reckless or  callous indifference                    to the constitutional rights  of others.  "An                    official  displays  such reckless  or callous                    indifference when it would be manifest to any                    reasonable official that his conduct was very                    likely to violate an individual's rights."          Febus-Rodriguez v. Betancourt-Lebron, 14 F.3d 87, 91-92 (1st Cir.          _______________    _________________          1994) (citations  omitted).   In order  to surmount  the required          evidentiary threshold, appellants  needed to show  "'an "affirma-          tive [causal] link"  between the street  level of misconduct  and          the action  or inaction  of supervisory officials.'"   Gutierrez-                                                                 __________          Rodriguez  v. Cartagena, 882 F.2d 553, 562 (1st Cir. 1989) (cita-          _________     _________          tion omitted).                    None of the evidence adduced by appellants even remote-          ly suggests that Medina's supervisors were or should have been on          notice that  Medina posed a danger  to the public.   There was no          evidence that  Medina's prior conduct demonstrated an inclination          or tendency to use  excessive force, nor that the  police depart-          ment  routinely  used excessive  force.    Absent such  evidence,                                          4          appellants could  not establish  that  the defendant  supervisors          knowingly instituted or maintained a recruiting system ill-suited          to rooting out  dangerous recruits.  See  Febus-Rodriguez, 4 F.3d                                               ___  _______________          at  92 (noting that summary judgment record must show that super-          visor knew  of recruiting and training  problems, knowledge which          reflected a "conscious policy" decision to hire or  retain incom-          petent officers).                      Nor  was  there  evidence  to  substantiate appellants'          conclusory contentions  that the sort of gambling patrol in which          Medina was engaged is a policing  task requiring "special" train-          ing  or constant supervision by superior officers.  Medina gradu-          ated from the police  academy in 1986, having taken  such courses          as "basic police  tactical operations" and  "use and handling  of          firearms."  During  the next four years,  Medina served primarily          as a traffic officer, earning numerous commendations for exempla-          ry  police service  (e.g., apprehension  of murder  suspects) and                               ____          professional demeanor.  He  was honored as Policeman of  the Year          in 1989-90.  Official police department files contain no adminis-          trative complaints against Medina  prior to the Camacho shooting.          Cf. id.  at  93-94 (summary  judgment  awarded where  five  prior          ___ ___          administrative complaints were "unrelated" to the violent activi-          ty giving rise to plaintiff's suit); but cf. Gutierrez-Rodriguez,                                               ___ ___ ___________________          882 F.2d  at 564 (finding  supervisor liability based  on several          prior  complaints  of  brutality).   Appellants  made  conclusory          allegations in their  complaint that Medina  was "known," on  the          ___________                                          5          police force and in  the community, for aggressive  behavior, and          that  his supervisors engaged in a systematic cover-up of citizen          complaints.  But they offered no competent evidence in support of          these allegations.                      Given the dearth of competent evidence, and the failure          to request  an extension of  the discovery deadline  as permitted          under  Fed. R.  Civ. P.  56(f), Resolution  Trust Corp.  v. North                                          _______________________     _____          Bridge Assocs., Inc., __ F.3d ___, ___ (1st Cir. 1994) [1994 U.S.          ____________________          App. LEXIS 9358, at *10-13 (1st  Cir. May 2, 1994)], the district          court correctly concluded that appellants failed to demonstrate a          trialworthy  issue as  to whether  the defendant  supervisors had          reason  to know  that Medina  possessed a  dangerous or  volatile          disposition.   Accordingly, the  district court judgment  must be          affirmed.                    Affirmed.                    Affirmed                    ________                                          6

